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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Sia Henry, et al.
                                 Plaintiff,
v.                                                  Case No.: 1:22−cv−00125
                                                    Honorable Matthew F. Kennelly
Brown University, et al.
                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Saturday, May 6, 2023:


        MINUTE entry before the Honorable Matthew F. Kennelly: Motion by attorney
Kelsey E. Annu−Essuman to withdraw as attorney for Northwestern University is granted
[353]. (mk)




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